 Investigative and Enforcement Services
                                                                             Settlement Agreement
 USDA, APHIS, IES
 4700 River Road, Unit 85
 Riverdale, MD 20737
 Phone: (301) 734-8684
 Fax: {301) 734-4328

RESPONDENT:                                                                  CASE NUMBER           IA06043-AC
Tom and Pamela Sellner                                                   DUE ON OR BEFORE          December 20, 2006
dba Cricket Hollow Exotics                                                       CONTACT           Janice Sedgwick
                                                                                    PHONE          301-734-8759
1512 210th Street
Manchester, lA 52057


     DATE              CITATION                                             DESCRIPTION




                                                         (SEE ATTACHED PAGES)




I PENALTV I $4,035                      ITERMSI
Titles 7, 15, _19, and 21 of the Un1ted States Code authonze the Secretary of Agnculture, after providing not1ce and
opportunity for a hearing, to impose civil penalties and other sanctions to resolve violations.
Prior to the issuance of a formal complaint seeking sanctions under the Act, The Department may enter into a stipulation
to resolve the above-described violations. Your JJayment constitutes a waiver of your right to a hearing, a finding that the
violations of law have occurred, and settlement of such violations.
If you do not pay the specified penalty within the designated time or wish to exercise your right to a hearing, this matter
wm be forwarded to the Office of the General Counsef for litigation. The penalty offered in tflis stipulation is not relevant
to the sanctions the Department may seek, or that will be assessed, upon issuance of a formal complaint.

Signature of Respondent:                                                     Date:




                                       PAYMENT RECORD -FOR IES USE ONLY
            Payment Type                    Date       Amount                  Signature of JES Representative




                                                                                             T04 - Settlement Agreement

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                                                                                                     EXHIBIT 3 PAGE 0001
                                                                             Revised 11115/05


 DATE        CITATION          DESCRIPTION
               9CFR

 27 JUN06    2.40(b)(1)         Attending veterinarian and adequate veterinary care.
                                Failed to care for one Sicilian Donkey by allowing excessive overgrowth
                                ofthe hoof walls.
             2.75(b)            Records: Dealers and Exhibitors.
                                Failed to record and maintain records on five regulated animals.
             3.75(a)            Housing Facilities, General.
                               Failed to repair and seal surfaces in the primate area and allowed contact
                               with free roaming farm cats.
             3.80(a)(2)(iv)    Primary Enclosures.
                               Failed to keep contact with free roaming farm cats away from primates.
             3.84(a)           Cleaning, Sanitation, Housekeeping, and Pest Control.
                               Failed to clean food and animal waste in the primate area.
             3.84(b)(2)        Failed to clean and sanitize primate area.
             3.125(a)          Facilities, General.
                               Failed to maintain fence enclosing a Bactrian camel, repair shelter, or
                               remove rust and exposed sharp edges from an old metal trailer.
             3.125(d)          Failed to remove excessive accumulation of soiled bedding materials
                               and/or animal waste.
             3.127(b)          Facilities, Outdoor.
                               Failed to maintain shelter for regulated animals.
            3.127(c)           Failed to maintain pen areas free of mud and standing water.
            3.127(d)           Failed to maintain perimeter fence.
            3.128              Space Requirements.
                              Failed to provide sufficient space for regulated animals.
            3.129(a)          Feeding.
                              Failed to provide wholesome, palatable, and free from contamination
                              animal feed.
            3.131(c)          Sanitation.
                              Failed to keep the premises clean and in good repair.
            3.133             Separation.
                              Failed to provide adequate separation from hunter and prey animals which
                              interfere with animals' health or cause them discomfort.

22FEB 06    2.40(b)(1)        Attending veterinarian and adequate veterinary care.
                              Failed to have a Program of Veterinary care that contained provisions for
                              the care of sheep, goat and rabbit species.
            3.4(b)            Outdoor Housing Facilities.
                              Failed to provide a wind or rain break for kennel.
            3.81(a)(3)        Environment Enhancement to Promote Psychological Well-Being.
                              Failed to meet the social needs of primates by housing a carnivorous
                              predator in the same location.
            3.84(a)           Cleaning, Sanitation, Housekeeping, and Pest Control.
                              Failed to remove animal waste and soiled bedding ..
            3.84(b)(2)        Failed to clean and sanitize primary enclosures
            3.125(a)          Facilities, General.
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                                                                                   EXHIBIT 3 PAGE 0002
                               Failed to maintain the facility in a state of good repair.
            3.127(b)           Facilities, Outdoor.
                               Failed to provide regulated animals adequate protection from the elements.
            3.128              Space.
                               Failed to provide sufficient space for a regulated animal.
            3.129(a)           Feeding.
                               Failed to provide wholesome, palatable, and free from contamination
                               animal feed.
            3.130              Watering.
                               Failed to keep water receptacle clean and sanitary for a regulated animal.
            3.131(a)           Sanitation.
                               Failed to remove excreta from primary enclosures for regulated animals.

21 DEC 05   2.40(b)(l)        Attending veterinarian and adequate veterinary care.
                              Failed to have a Program ofVeterinary care that contained provisions for
                              the care of all regulated animals.
            3.4(b)            Outdoor Housing Facilities.
                              Failed to provide a wind or rain break for kennel.
            3.55              Watering.
                              Failed to provide potable water.
            3.75(f)           Housing Facilities, General.
                              Failed to keep litter and waste receptacle clean.
            3.82(a)(d)        Feeding.
                              Failed to keep food from mixing with animal waste.
            3.84(c)           Cleaning, Sanitization, Housekeeping, and Pest Control.
                              Failed to remove dust, cobwebs, animal waste and soiled bedding.
            3.125(d)          Facilities, General.
                              Failed to remove unwholesome vegetable materials.
            3.127(b)          Facilities, Outdoor.
                              Failed to provide regulated animals adequate protection from the elements.
            3.128             Space.
                              Failed to provide sufficient space for a regulated animal.
            3.129(a)          Feeding.
                              Failed to provide wholesome, palatable, and free from contamination food
                              for a regulated animal.
            3.129(b)          Failed to keep food receptacles accessible to regulated animal.
            3.130             Watering.
                              Failed to keep water receptacle clean and sanitary for a regulated animal.
            3.131(a)          Sanitation.
                              Failed to remove excreta from primary enclosures for regulated animals.
            3.130             Watering.
                              Failed to keep water receptacle clean and sanitary for a regulated animal.
            3.131(a)          Sanitation.
                              Failed to remove excreta from primary enclosures for regulated animals.

17 JUN05    3.128             Space Requirements.
                              Failed to provide sufficient space for regulated animals.
            3.131(a)          Sanitation.
                              Failed to remove excreta from primary enclosures for regulated animals.


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                                                                                  EXHIBIT 3 PAGE 0003
